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 1   Lewis R. Landau (CA Bar No. 143391)
     Attorney at Law
 2   23564 Calabasas Road, Suite 104
     Calabasas, California 91302
 3   Voice and Fax: (888)822-4340
     Email: Lew@Landaunet.com
 4
     Attorney for Reorganized Debtor
 5

 6
                               UNITED STATES BANKRUPTCY COURT
 7
                                CENTRAL DISTRICT OF CALIFORNIA
 8
                                         LOS ANGELES DIVISION
 9
10
     In re                                             Case No.: 2:17-bk-22432 WB
11
     Point.360, a California corporation,              Chapter 11
12
                                                       DEBTOR’S THIRD POST-CONFIRMATION
13                         Debtor.                     STATUS REPORT

14                                                     Date:        April 30, 2020
                                                       Time:        10:00 a.m.
15                                                     Place:       Courtroom 1375; Judge Brand
                                                                    US Bankruptcy Court
16                                                                  255 E. Temple Street, 13th Floor
                                                                    Los Angeles, California 90012
17

18           Point.360, a California corporation and reorganized debtor (“Debtor”) hereby files the
19   Debtor’s third post-confirmation status report pursuant to Local Bankruptcy Rule 3020-1(b)(1)-(5)
20   and the June 11, 2019 Order Confirming Debtor’s Second Amended Chapter 11 Plan as Modified
21   [ECF # 713] (“Confirmation Order”).
22   1. A schedule listing for each debt and each class of claims: the total amount required to be
        paid under the plan; the amount required to be paid as of the date of the report; the
23      amount actually paid as of the date of the report; and the deficiency, if any, in required
        payments.
24

25           The schedule required by LBR 3020-1(b)(1) is attached hereto as Exhibit 1 and

26   incorporated herein by reference.

27   ///

28   ///
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 1   2. A schedule of any and all postconfirmation tax liabilities that have accrued or come due
        and a detailed explanation of payments thereon.
 2
            Debtor is current on all post-confirmation tax liabilities. Although not specifically a “tax
 3
     liability,” Debtor has not paid second through fourth quarter 2019 United States Trustee (“UST”)
 4
     fees. Debtor has not paid post-confirmation UST fees on the grounds that the October 26, 2017
 5
     UST fee increase has been found unconstitutional, especially as applied to cases pending as of
 6
     enactment. Debtor’s case was filed October 10, 2017. Debtor has commenced adversary
 7
     proceeding number 2:19-ap-01442-WB to adjudicate the matter and a motion for summary
 8
     judgment is pending. An article summarizing the status of this issue based on litigation
 9
     throughout the United States is attached hereto as Exhibit 2.
10
     3. Debtor’s projections as to its continuing ability to comply with the terms of the plan.
11

12          As a result of the COVID-19 outbreak and the unprecedented closure of Los Angeles

13   County’s non-essential businesses, the Debtor’s revenues and receivables will be impacted.

14   Moreover, several of the Debtor’s customers have halted operations, while other customers are

15   delaying payments in an effort to preserve cash flow. While COVID-19’s impacts are substantial,

16   it is unknown at this time whether COVID-19 will impair the Debtor’s ability to comply with the

17   terms of the plan.

18   4. An estimate of the date for plan consummation and application for final decree.

19          Debtor believes the plan is substantially consummated however entry of a final decree
20   must likely await resolution of pending adversary proceedings. Debtor estimates applying for a
21   final decree in or about July 2020.
22   5. Any other pertinent information needed to explain the progress toward completion of the
        confirmed plan.
23
            In addition to timely making all distributions required under the plan, the Debtor has
24
     consummated the plan as follows:
25
            1.      The reorganized debtor has taken over management and operation of the estate and
26
     is continuing to operate in the ordinary course of business.
27

28


                                                 -2-
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 1           2.     Preconfirmation equity securities have been cancelled and Debtor’s stock has been

 2   delisted.

 3           3.     Debtor has commenced the auction of surplus Modern VideoFilm, Inc. property,

 4   plant and equipment (“PPE”) and the process of liquidating the PPE is ongoing as set forth in

 5   Exhibit 3.

 6           4.     Debtor is engaged in discovery in its litigation with Medley Capital Corporation

 7   and Medley Opportunity Fund II, LP (collectively “Medley”) in adversary proceeding 2:19-ap-

 8   01129 WB. A pretrial conference is scheduled for May 19, 2020 but the parties have recently

 9   stipulated to continue the matter for approximately 60-days due to impacts of the COVID-19
10   health emergencies.
11           5.     Debtor has appealed the Court’s ruling concerning Debtor’s motion for prevailing
12   party attorney’s fees against Medley. The appeal is pending in the United States District Court as
13   case number 2:19-cv-09935-PA.
14   Dated: April 16, 2020                               Respectfully submitted,
15
                                                         Lewis R. Landau
16                                                       Attorney at Law
17

18                                                       By:/s/ Lewis R. Landau
                                                         Lewis R. Landau
19                                                       Attorney for Reorganized Debtor
20

21

22

23

24

25

26

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                                                -3-
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                            EXHIBIT 1


                                                                           004
      Point.360
      Schedule of Claims and Payments
      Updated at 4/16/2020


                                                                         Total Amount Required      Total Amount Required     Total Amount Paid        Deficiency
              Class #                     Class Description              To be Paid Under Plan      To be Paid at 4/16/2020      at 4/16/2020         in Payments                                                       Notes
                 1            Austin Financial Services                             2,475,676.48               2,475,676.48            2,475,676.48                 -


                 2            Medley Capital Corporation
                              Medley Opportunity Fund II, LP                        6,572,764.28                        -                      -                    -


                 3            Priority Wages, Commissions
                              Salary Claims                                             92,685.13                92,685.13               92,685.13                  -


                 4            United Health Insurance Co
                              Employee Benefit Plan                                  142,152.77                 142,152.77              142,152.77                  -
                                                                                                                                                                                                                                                                                   Case 2:17-bk-22432-WB




                 5            SAG-AFTRA and SAG-AFTRA
                              Health Fund                                               37,466.75                37,466.75               37,466.75                  -


                 6            General Unsecured Claims                              1,699,695.01                275,000.00              275,000.00                  -


                 7            Convenience Class of Unsecured Claims                     52,467.00                39,368.34               39,368.34                  -


                 8            Wilcon Holdings, LLC; Crown Castle Fiber               124,274.69                 124,274.69              124,274.69                  -


                 9            Equity Security Holders                                         -                         -                      -                    -
                                                                                                                                                                                                                                                            Main Document




      PROFESSIONALS           Lewis R. Landau                                        191,505.55                 191,505.55              191,505.55                  -

                              Brinkman Portillo Ronk, APC                            418,260.76                 418,260.76              402,858.50                  -    *Brinkman discounted final payment by $15,402.26. Professional is paid in full.


                              GlassRatner Advisory & Capital                         250,747.28                 250,747.28              242,985.19                  -    *GR discounted final payment by $7,762.09. Professional is paid in full.


                              Daniel P. Hogan Attorney at Law                            1,470.00                  1,470.00               1,470.00                  -

                              TroyGould, P.C.                                           23,985.16                23,985.16               23,985.16                  -

                              Clerk’s Office Fees &                                           -                         -                      -                    -
                              Miscellaneous
                                                                                                                                                                                                                                                                             Page 5 of 14




                              Office of the U.S. Trustee Fees                     TBD                           223,315.25                     -            223,315.25   *Includes Late Fees assessed by U.S. Trustee



      PRIORITY TAX            Los Angeles County                                     148,219.54                  47,894.00               47,894.00                  -

                              IRS                                                        1,000.00                  1,000.00               1,000.00                  -
                              FTB                                                          800.00                    800.00                 800.00                  -
                              County of Orange                                           1,802.80                  1,802.80               1,802.80                  -


      LEASE ASSUMPTIONS       Leafs Properties, LP                                   152,461.60                 152,461.60              152,461.60                  -

                              HWAY, LLC                                              803,926.13                         -                      -                    -

                              Toyota Lease Trust                                         5,435.92                  5,435.92               5,435.92                  -

                              De Lage Landen Financial                                   8,972.05                  8,972.05               8,972.05                  -
                                                                                                                                                                                                                                                           Doc 803 Filed 04/16/20 Entered 04/16/20 19:15:04




                              Jules & Associates                                        34,558.00                34,558.00               34,558.00                  -

                              Wells Fargo                                               13,064.93                13,064.93               13,064.93                  -




005
                                                                                                                                                                                                                                                                                   Desc
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                            EXHIBIT 2


                                                                           006
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April 16, 2020

2% of Increased U.S. Trustee Fees Held Unconstitutional


           Florida judge largely agrees with a Delaware judge by holding that the increase in fees for the U.S. Trustee program is
          neither impermissibly retroactive nor unconstitutional, mostly speaking.



The bankruptcy courts are now split three ways on the issue of whether the increase in U.S. Trustee fees
applies to chapter 11 cases led or con rmed before the increase went into e ect. The Fifth and Third
Circuits will soon consider the issue on direct appeals.

Three courts have held that the increase in fees is either unconstitutional or inapplicable to cases
pending when the fees increased. See In re Bu ets, LLC, 597 B.R. 588 (Bankr. W.D. Tex. 2019); In re Circuit
City Stores Inc., 606 B.R. 260 (Bankr. E.D. Va. 2019); and In re Life Partners Holdings Inc., 606 B.R. 277 (Bankr.
N.D. Tex. 2019).

Bu ets is on direct appeal to the Fifth Circuit. See Hobbs v. Bu ets LLC (In re Bu ets LLC), 19-50765 (5th Cir.).
Brie ng in the Fifth Circuit is complete.

Three courts ruled that the increase is neither impermissibly retroactive nor violative of the Constitution.
See Clinton Nurseries Inc. v. Harrington (In re Clinton Nurseries Inc.), 608 B.R. 96 (Bankr. D. Conn. 2019); In re
Exide Techs., 611 B.R. 21 (Bankr. D. Del. 2020); and In re Clayton Gen. Inc., No. 15-64266, 2020 Bankr. Lexis
842 (Bankr. N.D. Ga. Mar. 30, 2020).

In Exide, the parties stipulated to a direct appeal to the Third Circuit. The appeals court is considering the
petition for permission to appeal. See Exide Techs. v. Vara (In re Exide Techs.), 20-8023 (3d Cir.).

There is also a class action pending in the U.S. Court of Claims, seeking a refund of overpayments of the
fees. There have been no substantive rulings as yet. See Acadiana Management Group LLC v. U.S., 19-496
(Ct. Cl.).

In his opinion on April 9, Bankruptcy Judge Erik P. Kimball of West Palm Beach, Fla., fashioned a third
result. Generally, he agreed with the Exide opinion by Bankruptcy Judge Mary F. Walrath of Delaware that
the increase is valid and enforceable.

However, Judge Kimball decided that collecting 2% of the increase violates either the Uniformity or the
Contracts Clauses of the Constitution.

                                                    The Amended Statute

In the case before Judge Kimball, the chapter 11 debtor con rmed a plan in June 2017 and created a
creditor’s trust. The fees payable to the U.S. Trustee Program do not end on con rmation. Rather, the
fees continue until the case is closed.

To ensure that taxpayers do not nance the U.S. Trustee Program, Congress revised the U.S. Trustee fees
as part of the Bankruptcy Judgeship Act of 2017. Codi ed at 28 U.S.C. § 1930(a)(6)(B), the fees are raised
whenever the balance in the U.S. Trustee System Fund falls below $200 million at the end of any scal
year through 2022. In December, Congress amended the statute by raising the threshold to $300 million.

Since the fund balance was below the threshold, the fees increased as of Oct. 27, 2017, when the
amendment became e ective.


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In Judge Kimball’s case, the increase was substantial. For six quarters after the increase kicked in, the
trust paid almost $175,000. Under the previous fee schedule, the fees would have been less than
$49,000. In other words, the increase for the trust was some 350%.

                                             The Motion for a Refund

The trust led a motion seeking a refund, on the notion that the increase was either unconstitutional or
not retroactive, or both.

Judge Kimball said he could not “improve on the analysis by Judge Walrath” in Exide and held that the
increase was not retroactive because it only applied to quarters after the increase became e ective.
Generally speaking, he also found no violation of the Uniformity or Bankruptcy Clauses.

However, Judge Kimball did have a problem with 2% of the increase.

Previously, 100% of the fees were earmarked exclusively for U.S. Trustees, so the program would impose no burden on
taxpayers. For the rst time, the amended statute diverted 2% to the Treasury for the government’s general purposes.
Legislative history said that the 2% was designed to defray the cost of several temporary bankruptcy judgeships.




Here’s the rub. Two states, North Carolina and Alabama, have bankruptcy administrators, not U.S.
Trustees. Although the fees are the same, debtors in those states pay fees under 28 U.S.C. § 1930(a)(7),
not § 1930(a)(6). The increased fees in those two states only apply to cases begun after the increase went
into e ect for North Carolina and Alabama on October 1, 2018.

Judge Kimball said it did not matter whether the U.S. Trustee fees were considered taxes or user fees.
The Uniformity and Bankruptcy Clauses both require that taxes and bankruptcy laws be uniform
throughout the U.S. Because the 2% is not paid in two states, he held that “the fee required under the
Amendment is not uniform and thus violates the Constitution.”

Judge Kimball therefore decided that the trust was entitled to a refund of the 2%, amounting to about
$3,500.

To read ABI’s reports on Bu ets and Exide, click here and here.




Opinion Link
 PREVIEW




                                                                                                                   008
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https://abi-opinions.s3.amazonaws.com/Mosaic.pdf

Case Details
Case Citation          In re Mosaic
                       Management Group
                       Inc., 16-20833 (Bankr.
                       S.D. Fla. April 9, 2020)

Case Name              In re Mosaic
                       Management Group
                       Inc.

Case Type              Business

Court                  11th Circuit
                       Florida
                       Florida Southern District

Bankruptcy Tags        Administrative Expense Claims
                       Business Reorganization




             Bill Rochelle
             EDITOR-AT-LARGE, ABI
              @BillRochelle

An insightful writer known for his authoritative take on legal developments a ecting bankruptcy practice, Bill Rochelle published for
Bloomberg every day from 2007 through 2015.

Prior to his second career in journalism, he practiced bankruptcy law for 35 years, including 17 years as a partner in the New York
o ce of Fulbright & Jaworski LLP.




                                                                                                                                      009
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                            EXHIBIT 3


                                                                           010
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                     Status Update On Sale Of MVF Surplus Equipment

    In June 2019, immediately following the plan approval, Point 360 (the “Company”) initiated
the process of identifying the best strategy to monetize the surplus assets of ModernVideo Film.
Debtor first determined which of the surplus assets had the most value and potential to maximize
the proceeds by sale. A list of the “best” assets was determined through research based on:

   a) current relevance of the asset
   b) general availability of the asset
   c) demonstrated market price of the asset

    The process took over four weeks and was completed in July 2019. The list of potential
assets contained over 12,000 items which were identified for sale. Once this list was compiled, it
was determined that both private sales and public auction would be the most effective means of
generating the best recovery. For the highest target price assets, a campaign of reaching out to
other companies in the industry to generate interest was carried out beginning in July 2019 and is
continuing. Concurrently, the Company began the process of interviewing auction houses in
June. After an exhaustive search based on a variety of criteria, (including experience,
administrative cost, and availability) three entities were chosen as finalists:

   1. Joseph Finn Co., Inc.
   2. Heritage Global Partners
   3. Auction Excess

    All three finalists agreed an auction with over 12,000 items would be counter-productive, due
to the redundancy of many of the items in the auction creating a “flooded market” on many of
the higher price items. The Company also determined this approach would resemble a forced
liquidation, and would yield significantly lower proceeds as a result. In addition, all of the final
candidates felt that they could not accommodate an auction of that size, causing two of the
finalists (Joseph Finn and Heritage) to suggest joining forces.

    All three auctioneers had different pricing strategies, and ultimately the Company determined
that due to location, upfront costs, and percentage of commissions the best option was Auction
Excess. After careful consideration of all of the facts, the Company determined that having
several smaller auctions would be the most productive means of selling off the surplus
equipment. Point 360 management collectively decided how many and which assets should be
put up for the first auction, and a list of approximately 4,500 of the most sought after items were
selected.

   The Company originally targeted an auction date of October 2019, with a second auction to
occur in the November-December 2019 timeframe. The Company was quickly met with the
challenge of gathering and consolidating all of the items into one place so that the auction house




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could begin their marketing process. This took considerably longer than anticipated due to the
requirement of the auction house to identify, clean, and photograph each piece of equipment.

    Soon after the Company was informed that due to the timing of a similar unrelated
equipment auction occur, it would be beneficial to push its auction to early December 2019, and
reduce the number of items to approximately 2,000, in 400-500 item lots. Ultimately the
Company ended up listing around 2,300 items in 473 lots. An auction date of December 3 was
set, and the marketing materials began to circulate. The second auction containing 2500 items is
now being targeted for a January timeframe. It is still the belief of the Company that these 4,500
items will generate $500,000 and $600,000. Additionally 8-10 items have been sold privately,
and generated approximately $50,000.00 to date. This process will continue until all of the assets
are sold.

    On December 3, 2019 the Company held the first auction. 2,000 of the 2,300 items were sold
for an approximate total of $155,000. Many of the “large ticket” items were not sold due to the
minimum price not being met. The Company believes that the 300 items that did not sell would
generate an additional $200,000.00.

    In mid-December the Company began the process of setting up for the next auction, which
began on Jan 12 and completed on January 28. The same auction house was used, however the
company was able to negotiate a lower commission (10%) due to the work that had previously
gone into setting up the first auction. As in the first auction many of the “large ticket” items did
not sell, and the Company continues to market those items outside of the auction. In February
The Company approached a new auction house, (RL Spear Company, Inc) to hold the third
auction. The third auction began on March 12 and will conclude on April 21. The anticipated
results and timing are listed below:

                                      Estimated
                        Date    Items   Yield
 Auction 1            12/3/2019 2000 155,000.00
 Auction 2           1/28/2020 580    60,000.00
 Auction 3           4/21/2020 600 100,000.00
 Auction 4           Jun. 2020 4200 100,000.00
 Private Sale        Ongoing     8-10  65,000.00

       The Company believes that between the ongoing private sales and the upcoming
auctions, the gross sale recovery will be approximately $480,000.00.




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    22287 Mulholland Hwy., # 318
    Calabasas, CA 91302
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 DEBTOR’S THIRD POSTCONFIRMATION STATUS REPORT
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
04/16/2020          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              04/16/2020        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Judge Brand, US Bankruptcy Court, 255 E Temple Street, Suite 1382, Los Angeles, CA 90012




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

04/16/2020         Lewis R. Landau                                                             /s/ Lewis R. Landau
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Ponit.360 NEF Service List:

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James C Bastian, Jr on behalf of Creditor HWAY LLC jbastian@shulmanbastian.com
Ron Bender on behalf of Interested Party Courtesy NEF rb@lnbyb.com
Ron Bender on behalf of Interested Party Visual Data Media Services, Inc. rb@lnbyb.com
Daren Brinkman on behalf of Creditor Committee Official Committee Unsecured Creditors office@brinkmanlaw.com, brinkmanlaw@ecf.inforuptcy.com
Daren Brinkman on behalf of Creditor Committee Official Committee of Unsecured Creditors of Point.360, A California Corporation
office@brinkmanlaw.com, brinkmanlaw@ecf.inforuptcy.com
Daren Brinkman on behalf of Plaintiff Committee of Creditors Holding Unsecured Claims office@brinkmanlaw.com, brinkmanlaw@ecf.inforuptcy.com
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hnapier@gershlegal.com;jsedivy@gershlegal.com;hcory@stubbsalderton.com;jgersh@stubbsalderton.com;jsedivy@stubbsalderton.com
Asa S Hami on behalf of Interested Party Visual Data Media Services, Inc. ahami@sulmeyerlaw.com,
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Daniel P Hogan on behalf of Debtor Point.360, a California Corporation dhogan@mccabehogan.com, dhogan460@gmail.com
Garrick A Hollander on behalf of Interested Party Modern VideoFilm, Inc. ghollander@wghlawyers.com,
pj@wcghlaw.com;jmartinez@wghlawyers.com;Meir@virtualparalegalservces.com
William W Huckins on behalf of Creditor REEP-OFC 2300 Empire CA LLC whuckins@allenmatkins.com, clynch@allenmatkins.com
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Lance N Jurich on behalf of Defendant Deloitte Corporate Finance, LLC ljurich@loeb.com,
karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
Lance N Jurich on behalf of Defendant Deloitte Transactions and Business Analytics, LLP ljurich@loeb.com,
karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
Lance N Jurich on behalf of Defendant Medley Capital Corporation ljurich@loeb.com, karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
Lance N Jurich on behalf of Defendant Medley Opportunity Fund II LP ljurich@loeb.com,
karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
Lance N Jurich on behalf of Plaintiff Point.360, a California Corporation ljurich@loeb.com,
karnote@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com
David S Kupetz on behalf of Interested Party Visual Data Media Services, Inc. dkupetz@sulmeyerlaw.com,
dperez@sulmeyerlaw.com;dperez@ecf.courtdrive.com;dkupetz@ecf.courtdrive.com
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(LA) dare.law@usdoj.gov
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Alvin Mar on behalf of Defendant Office Of The United States Trustee alvin.mar@usdoj.gov, dare.law@usdoj.gov
Alvin Mar on behalf of U.S. Trustee United States Trustee (LA) alvin.mar@usdoj.gov, dare.law@usdoj.gov
David W. Meadows on behalf of Interested Party Courtesy NEF david@davidwmeadowslaw.com
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